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                           Damon Chargois

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                                JAMS

  Reference No. 1345000011/C.A. No. 11-10230-MLW



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  In Re:    STATE STREET ATTORNEYS FEES

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  BEFORE: Special Master Honorable Gerald Rosen,

            United States District Court, Retired




                DEPOSITION of DAMON J. CHARGOIS

            October 2, 2017, 9:16 a.m.-5:01 p.m.

                                JAMS
                        One Beacon Street

                      Boston, Massachusetts




          Court Reporter:      Paulette Cook, RPR/RMR

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                                                     1    that?
                                                     2       THE WITNESS: Either end of 2006 or
                                                     3    beginning of 2007. Somewhere around there.
                                                     4       BY MR. SINNOTT:
                                                     5   Q. So what happened after you learned about
                                                     6    Labaton's desire to make contact with you?
                                                     7   A. A lawyer in our office, Kamran Mashayekh,
                                                     8    put us together -- not sure -- basically he had
                                                     9    spoken to them before me.
                                                    10       Then Eric Belfi I believe called me
                                                    11    directly and asked if I'd be interested in working
                                                    12    on a case called HCC Holdings that was on file in
                                                    13    Houston.
                                                    14       I asked tell me a little bit about it
                                                    15    and what you would expect of me, and he said
                                                    16    essentially filing documents, and you may have to
                                                    17    sign off on a pro hac vice for any lawyers that are
                                                    18    not authorized to appear in the case.
                                                    19   Q. All right. Were you asked, in effect, to be
                                                    20    local counsel --
                                                    21   A. Yes, sir.
                                                    22   Q. -- for Labaton? Okay.
                                                    23       Was that the expression that Labaton
                                                    24    used in hiring you?

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 1   A. I believe so in that case, yeah.                     1   A. Yes, sir.
 2   Q. All right. So describe what the HCC                  2   Q. And when you met them in Little Rock, what
 3    Holdings case was about and what you did on behalf     3    did they ask you to do?
 4    of Labaton.                                            4   A. They were interested in having a connection
 5   A. It was a securities fraud type of case on            5    to Arkansas and to Little Rock and making inroads,
 6   the civil side. Don't know much more substance than     6    and they asked me to help them make introductions.
 7    that.                                                  7   Q. Okay. And when you say they asked you to
 8       And what I did was appear at one or two             8    make introductions, what type of persons did they
 9    hearings with them. I believe -- I believe on that     9    want to meet?
10    case I sponsored at least one of their lawyers to     10   A. Eric explained to me that he -- part of his
11    appear in court.                                      11   job at Labaton was networking and client development
12   Q. Pro hac vice?                                       12    or cultivation -- I don't remember the word but
13   A. Sorry. Pro hac vice.                                13    something along those lines, and that they did not
14   Q. Okay.                                               14    have a presence in Little Rock and that we did and
15   A. And at the appropriate time I believe I             15    that if we could help introduce them to
16    attended the mediation. I may be missing a couple     16    institutional investors or folks that could help
17    of things but nothing of substance on the case.       17    them get introductions to institutional investors.
18   Q. Okay. And was the case resolved at some             18   Q. And what was the basis of your knowledge of
19    point?                                                19    institutional investors?
20   A. Yes, sir.                                           20   A. I had none.
21   Q. And how was it resolved?                            21       THE SPECIAL MASTER: Again, if you could
22   A. Settlement.                                         22    just give us a timeframe.
23   Q. And what was your participation in that?            23       THE WITNESS: Around the same timeframe.
24       Did you have a role in that, or was that           24    Early 2007.

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 1    handled by Labaton's attorneys?
 2   A. It was handled by Labaton attorneys.
 3   Q. And did you assist in some fashion?
 4   A. No.
 5   Q. Okay. So it was handled exclusively by
 6    Labaton?
 7   A. Yes, sir.
 8   Q. All right. And in the course of working on
 9    behalf of Labaton in the HCC Holdings case, in
10    addition to Eric Belfi, did you meet any other
11    attorneys?
12   A. Yes, sir.
13   Q. Who did you meet?
14   A. Chris Keller.
15   Q. All right. And when did you meet Chris
16    Keller? At what stage in the proceedings?
17   A. I met him first -- I was -- I believe the
18    order of it is I met him either as we were
19   discussing serving as local counsel somewhere around
20    that time early on, but I believe I first met him
21   when he and Eric Belfi came down, and I went up, and
22    we met in Arkansas.
23   Q. Okay. So your recollection is that you met
24    Belfi and Keller together in Little Rock?

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                                                            1    had any information or knew anyone that we could
                                                            2    talk to.
                                                            3       And Eric Belfi indicated that they also
                                                            4    wanted to engage a local law firm to help them to
                                                            5    establish a foothold, a presence in the community so
                                                            6    that it's just -- I guess it gives a better
                                                            7    impression than if they're some -- with all due
                                                            8    respect, some guys that are beasts --
                                                            9       THE SPECIAL MASTER: New York firm.
                                                           10   A. -- just trying to get business, and they
                                                           11    don't care about what's going on.
                                                           12       So we opened up doors and introduced
                                                           13    them to anyone we knew, sure.
                                                           14   Q. Okay. And had the Labaton attorneys given
                                                           15    you an idea of exactly the profile of persons or
                                                           16    plans that they wanted to gain an introduction to?
                                                           17       THE SPECIAL MASTER: Or types of cases.
                                                           18       THE WITNESS: Yes, sir.
                                                           19   A. They were interested in getting
                                                           20    introductions to institutional investors with the
                                                           21    goal of monitoring their portfolios. They had to
                                                           22    explain to me what that meant.
                                                           23       Once they explained to me what it meant,
                                                           24    that's what I did.

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 1   A. Relatively new. I hate to say new because          1    Q. Okay.
 2    the hormone replacement therapy litigation was very  2        THE SPECIAL MASTER: Was that
 3    active. I was there every month, and it was very, 3        institutional investors with respect to monitoring
 4    very involved.                                       4     as to certain kinds of cases, securities cases,
 5   Q. Okay. And was Labaton involved in that at          5     transactional cases, antitrust cases? Or was that
 6    all?                                                 6     not --
 7   A. No, sir.                                           7        THE WITNESS: I don't know.
 8   Q. Were any other firms involved or was that          8        THE SPECIAL MASTER: -- was that not
 9    something that your own firm was handling?           9     specified?
10   A. It was my own firm. Our original cases.           10        THE WITNESS: That was not specified.
11   Q. And was it a successful practice?                 11        BY MR. SINNOTT:
12   A. Ultimately, no. We couldn't afford them.          12    Q. At some point did you have some success in
13    So we ended up having to refer them out and close 13       making inroads into this area?
14    our Little Rock firm.                               14    A. Yes, sir.
15   Q. Okay. And when did you ultimately close the       15    Q. Tell us about that.
16    Little Rock firm?                                   16    A. Tim was friends with Senator Farris -- Steve
17   A. That was around 2010 or end of 2009.              17    Farris and asked him do you know anyone or point us
18   Q. Now what did you do in order to assist Belfi      18     to anyone we might be able to talk to, and he told
19    and Keller in meeting institutional investors?      19    Tim that recently a gentleman named Paul Doane had
20       Tell us what your approach was to this           20    taken over Arkansas Teachers, and you might want to
21    and what you actually did.                          21     give him a try. Good luck.
22   A. Tim and I reached out to friends or               22    Q. Did he facilitate that introduction in any
23    associates, people that we knew, told them why we 23       way?
24    were reaching out to them and asking them if they 24      A. No, sir. Tim just told me about it, and I

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 1    looked up Paul Doane and called him.                    1   A. Eric --
 2       THE SPECIAL MASTER: Cold?                            2       THE SPECIAL MASTER: Hold that thought.
 3       THE WITNESS: Yes, sir.                               3       MR. SINNOTT: Sure.
 4   Q. And what was Mr. Doane's response when you            4       THE SPECIAL MASTER: Was this the first
 5    called him?                                             5    institutional investor that you'd been successful in
 6   A. The gist of it was who are you and why are            6    setting up a meeting with?
 7    you calling me, but I told him who I was, who our       7       THE WITNESS: Yes, sir.
 8    firm was. We're local not far from your office and      8       THE SPECIAL MASTER: I'm sorry. If you
 9    how I got his name and why I was calling.               9    remember your question.
10   Q. Okay. And did he offer to help you?                  10       MR. SINNOTT: Okay. I do.
11   A. I don't understand.                                  11       BY MR. SINNOTT:
12   Q. Did he ask you to come in for a meeting? Or          12   Q. Tell us what happened at the meeting.
13    did he --                                              13   A. Eric Belfi presented all of the services
14   A. No, sir.                                             14    that Labaton has available and what their -- what
15   Q. -- extend -- you know, try to arrange for            15    they could do and presented as a courtesy that they
16    you to talk again with him?                            16    do this monitoring of the portfolio.
17   A. No, sir.                                             17   Q. Okay. And did Mr. Doane ask any questions
18   Q. All right. What did he say?                          18    of Eric?
19   A. He listened to what I had to say, and I              19   A. I'm sure he did. I don't remember specific
20    asked him if I could meet with him. And then I told    20    questions.
21    him that, you know, I was working with a New York      21   Q. Okay. Did you participate in the
22    law firm that specializes in institutional             22    conversation?
23    investors.                                             23   A. I was there, but as far as substantive
24   Q. Okay. So how did you leave it after that             24    matters, no.

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 1    conversation?                                           1   Q. You let Eric do the talking?
 2   A. Let me know if you're willing to give us              2   A. Yes, sir.
 3    some time.                                              3   Q. Okay. But you're a good listener?
 4   Q. Okay. And what happened next?                         4   A. I'm a good listener.
 5   A. He -- I don't know if it was a followup call          5   Q. Okay. How long was the meeting?
 6    by me or if it was that call, but he ultimately         6   A. Maybe 30, 45 minutes.
 7    agreed to meet.                                         7   Q. Okay. And how did Eric and Mr. Doane leave
 8   Q. Okay. And did you meet him by yourself, or            8    it at the end of the meeting?
 9    were you accompanied by someone else?                   9   A. Something along the lines of let's follow
10   A. The Labaton -- I believe it was Eric Belfi           10    up, or I'll be in touch.
11    and Chris Keller, but I can't swear to that. I know    11   Q. Okay. And did you and Eric debrief after
12    Eric Belfi was there. I don't know if Chris Keller     12    the meeting or go somewhere and talk about what
13    was there.                                             13    happened and/or next steps?
14   Q. Okay. And how soon after the telephone               14   A. I'm sure we talked after the meeting, but as
15    conversation did this meeting take place?              15    far as next steps, no.
16   A. I'll guess within a week or two.                     16   Q. All right. What's the next thing that
17   Q. Okay. And is it fair to say that Eric and            17    happened with respect to Mr. Doane to your
18    Chris were responsive and came down --                 18    knowledge?
19   A. Yes.                                                 19   A. Eric Belfi called me and asked me to send a
20   Q. -- at the time that you told them that the           20    little blurb about my firm because he was interested
21    meeting would be -- time and date?                     21    in including us in the request for -- it's either an
22   A. Yes, sir.                                            22    RFQ or an RFP but to include us in that.
23   Q. Okay. So tell us what happened at that               23   Q. Okay.
24    meeting.                                               24   A. And so I sent my firm information to him.

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 1   Q. Had Mr. Doane raised the subject of a
 2    request for proposals or something along those
 3    lines, an RFP, during the conversation with Eric?
 4   A. Not that I recall.
 5   Q. Do you know where Eric got the idea that
 6    this would be an appropriate way to seek business
 7    with Arkansas?
 8   A. I assume Paul Doane.
 9   Q. Okay.
10   A. But I don't know.
11   Q. All right. You don't recall anything in the
12    conversation about an RFP?
13   A. No.
14   Q. All right.
15       THE SPECIAL MASTER: So do you know did
16    either Eric or Chris mention to you that they were
17    going to pick up the threads from this first meeting
18    and deal directly with Mr. Doane?
19       THE WITNESS: Yes.
20   Q. And did they indicate what, if anything,
21    they'd be looking for you to do as part of this
22    ongoing relationship with Mr. Doane?
23   A. At that time the impression that I had is
24    that I would be local counsel just as I was in the

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 1    HCC Holdings case.
 2   Q. Okay. But that was an assumption on your
 3    part?
 4   A. Yes, sir.
 5   Q. And at some point did you attempt to
 6    introduce Eric and/or Christopher to any other
 7    figures in Little Rock?
 8   A. Yes, sir.
 9   Q. All right. Tell us about that.
10   A. In furtherance of the stated desire to be a
11    presence in Little Rock, have an interest in Little
12    Rock, Eric came down, and we showed him around
13    Little Rock, introduced him to Senator Farris, and I
14    don't know if it was that time or a subsequent time,
15    but we asked and Mike Beebe was kind enough -- he
16    was running for governor at the time -- to give us
17    five minutes, ten minutes, and I introduced Eric to
18    Mike Beebe.
19   Q. Okay. What was Mike Beebe's position at
20    that time?
21   A. He was the outgoing attorney general.
22       THE SPECIAL MASTER: And running for
23    governor?
24       THE WITNESS: And running for governor.

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                                                     1    association with Labaton?
                                                     2   A. Yes, sir.
                                                     3   Q. And what did you tell him that -- you know,
                                                     4    at this first meeting that you were doing on behalf
                                                     5    of Labaton?
                                                     6   A. Helping to introduce them to institutional
                                                     7    investors.
                                                     8   Q. Okay. Now getting back to Paul Doane and
                                                     9    Little Rock, after the RFP was submitted by Labaton
                                                    10    and by yourself -- and I take it it was a joint
                                                    11    proposal?
                                                    12   A. It was.
                                                    13   Q. How long was it before you heard of any
                                                    14    progress?
                                                    15   A. I believe Eric called me within two to four
                                                    16    weeks of that, told me that it had been kicked back.
                                                    17    Said that the Arkansas Teachers wanted one firm on
                                                    18    the form.
                                                    19   Q. Okay. So what did that mean?
                                                    20   A. I said go ahead and withdraw our firm and
                                                    21    good luck.
                                                    22   Q. Okay. So you and your firm bowed out of the
                                                    23    monitoring relationship? Is that what it was
                                                    24    called?

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                                                     1   A. Yes, sir.
                                                     2   Q. Okay. But Labaton stayed in there, and
                                                     3    Labaton was retained or offered that position,
                                                     4    correct?
                                                     5   A. Yes, sir.
                                                     6   Q. Did you have any conversation with Paul
                                                     7    Doane about this or with general counsel from
                                                     8    Arkansas Teachers?
                                                     9   A. No, sir.
                                                    10   Q. All right. And was your understanding from
                                                    11    Eric that you were not part of this successful
                                                    12    proposal, correct?
                                                    13   A. If I could ask what do you mean not a part
                                                    14    of the successful proposal?
                                                    15   Q. You were not retained --
                                                    16   A. Oh, yes.
                                                    17   Q. So Labaton was retained, and you weren't?
                                                    18   A. Yes. Correct.
                                                    19   Q. Okay, thank you. I don't think I was making
                                                    20    myself clear.
                                                    21       So after that RFP and Labaton
                                                    22    successfully being selected as monitoring counsel,
                                                    23    what was your role with respect to Labaton?
                                                    24   A. Help introduce them to other pension funds

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 1    or institutional investors as I am able to.             1       THE WITNESS: No. I believe that was
 2   Q. Okay. And who were some of those other                2    another occasion.
 3    folks that you introduced them to, Damon?               3       THE SPECIAL MASTER: Okay.
 4   A. Over the years, Texas Teachers Pension Fund,          4       THE WITNESS: When they came to Little
 5    Houston Municipal Employees Pension Fund, the           5    Rock to meet with myself, and I believe Tim was
 6    Houston Firefighters -- I don't think he was on the     6    there as well --
 7    board, but he was prominent within Houston              7       THE SPECIAL MASTER: Oh, okay.
 8    Firefighters, a gentleman.                              8       THE WITNESS: -- in our offices, they
 9       And as far as institutional investors                9    said here's what we're interested in. We would like
10    go, that's it.                                         10    to have a presence in Little Rock. We don't have
11   Q. Okay. As a result of your having made this           11    one currently.
12    introduction of Labaton to Arkansas Teachers, did      12       We'd like a presence in Houston because
13    you come to an agreement or a contract or something    13    we don't have one currently. We like to work with
14    formal or informal with respect to your ongoing        14    local counsel. You're local counsel.
15    relationship with Labaton?                             15       And they presented the arrangements I
16   A. Yes, sir.                                            16    just told you about.
17   Q. Could you tell us about that?                        17       THE SPECIAL MASTER: So this was almost
18   A. Sure. If the -- the agreement as they                18    at the outset of the relationship then?
19    presented it to me was if ultimately they are          19       THE WITNESS: Yes, sir.
20    selected to represent any institutional investor       20       THE SPECIAL MASTER: And you began
21    that I facilitated an introduction to, if they are     21    talking with any level of specificity about how the
22    successful in obtaining a recovery, they would split   22    relationship would be managed and compensation for
23    their attorneys' fees with my firm 80 percent/20       23    the relationship for you?
24    percent.                                               24       THE WITNESS: Yes, sir.

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 1   Q. So you would receive 20 percent of the                1       THE SPECIAL MASTER: Okay.
 2    attorneys' fees?                                        2       MR. MARX: I think the record's clear
 3   A. Yes, sir.                                             3    now based on the followup questions, but your
 4   Q. And they would receive 80 percent?                    4    question earlier, Bill, was as a result of this RFP
 5   A. Yes, sir.                                             5    process and Little Rock what was the nature of the
 6       THE SPECIAL MASTER: Was that in all                  6    agreement between Damon's firm and Labaton.
 7    cases in which they would be counsel to a party that    7       I think it's clear now that that was an
 8    you had helped to facilitate the relationship with?     8    initial conversation about an overarching agreement
 9       THE WITNESS: Yes, sir.                               9    which included --
10       THE SPECIAL MASTER: Not limited to                  10       THE SPECIAL MASTER: Correct me if I'm
11    Arkansas?                                              11    wrong. I don't want to misstate it, but it sounds
12       THE WITNESS: Correct.                               12    like the commercial piece of the relationship
13       THE SPECIAL MASTER: And when did you                13    between you and Labaton actually began almost at the
14    begin having these discussions? This will be a         14    outset of the relationship that there was some
15    compound question, but you can break it down.          15   understanding about how you would be compensated --
16       THE WITNESS: Sure.                                  16    I say "you," I mean your firm.
17       THE SPECIAL MASTER: Were the                        17       THE WITNESS: That's correct.
18    discussions with Eric Belfi or Chris Keller or both?   18       BY MR. SINNOTT:
19       THE WITNESS: Good question.                         19   Q. And with respect to Arkansas Teachers,
20       When Eric Belfi and Chris Keller came               20    Damon, how many other cases resulted from that
21    down to Little Rock that first time that we'd          21    introduction that you had made of Labaton to
22    already talked about --                                22    Arkansas?
23       THE SPECIAL MASTER: To meet with                    23       And when I say Arkansas, I'm using that
24    Senator Farris?                                        24    as shorthand for Arkansas Teachers.

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 1   A. I understand. I understand.                           1       THE SPECIAL MASTER: If the Court wants
 2       Including State Street, I believe five               2    to pick up the phone and call a local lawyer, you're
 3    -- four or five.                                        3    the one, right?
 4   Q. Okay.                                                 4       THE WITNESS: Yes, sir.
 5       THE SPECIAL MASTER: Did you have                     5   Q. But that --
 6    ongoing contact with Arkansas at all during this        6       THE SPECIAL MASTER: You heard -- I'm
 7    period?                                                 7    sorry, Bill.
 8       THE WITNESS: No, sir.                                8       MR. SINNOTT: No.
 9       THE SPECIAL MASTER: Not with Paul                    9       THE SPECIAL MASTER: We've heard in the
10    Doane?                                                 10    case there's another definition that lawyers have
11       THE WITNESS: No, sir.                               11    used for local counsel which is basically to be
12       THE SPECIAL MASTER: George Hopkins?                 12    local to the client itself and either in addition to
13       THE WITNESS: I met him once at a                    13    or only to be available to service the client --
14    hearing in San Francisco years later.                  14    professionally service the client. Is that a role
15       THE SPECIAL MASTER: A case -- on a                  15    you've ever played?
16    case?                                                  16       THE WITNESS: Not that I'm aware of.
17       THE WITNESS: Yes. Um,                 case.         17       THE SPECIAL MASTER: Okay. All right.
18       I was going to San Francisco to visit my            18       BY MR. SINNOTT:
19    sister and brother-in-law, and Eric told me that       19   Q. Is it fair to say that there was no
20    there was a hearing that was taking place there. I     20    expectation arising out of the Arkansas introduction
21    said I'm going to come by. So I went by.               21    that you had made that you would enter appearances
22       George Hopkins was there, and Eric                  22    in cases?
23    introduced us. I said hi.                              23   A. That's correct.
24       THE SPECIAL MASTER: You weren't local               24   Q. No expectation that you would take a role in

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 1    counsel on that case though?                            1    those cases?
 2       THE WITNESS: I wasn't local counsel on               2   A. That's correct.
 3    that case or on any of these class action pension       3   Q. And that was apparent to Mr. Belfi?
 4    funds.                                                  4   A. Yes, sir.
 5       THE SPECIAL MASTER: I'm curious, Damon,              5   Q. And to Mr. Keller?
 6    what is your understanding of what a local counsel      6   A. Yes, sir.
 7    does?                                                   7   Q. And to everyone at Labaton?
 8       THE WITNESS: More along the lines of                 8   A. I don't know --
 9    what I did in the HCC Holdings case; that if there's    9       MS. LUKEY: Objection.
10    a non-dispositive hearing or if there's something      10   A. I don't know about everyone at Labaton.
11    that needs to be filed under seal or if someone        11   Q. Okay. But you didn't encounter anyone that
12    needs to be admitted under a pro hac vice motion,      12    asked you what you were doing in those future cases,
13    that's why you have local counsel.                     13    correct?
14       THE SPECIAL MASTER: And you have to                 14   A. No, sir.
15    appear in the case?                                    15       THE SPECIAL MASTER: Did anybody from
16       THE WITNESS: Yes, sir. And you have to              16    Labaton ever ask you to perform services as what
17    appear in the case.                                    17    we've discussed a local counsel would do?
18       THE SPECIAL MASTER: And you have to                 18       THE WITNESS: In a current case that is
19    file an appearance in the case?                        19    not a class action case, yes.
20       THE WITNESS: You have to file an                    20       THE SPECIAL MASTER: But in these other
21    appearance in the case.                                21    cases?
22       THE SPECIAL MASTER: And be responsible              22       THE WITNESS: No, sir.
23    to the Court to look to as the local lawyer.           23       BY MR. SINNOTT:
24       THE WITNESS: Yes, sir.                              24   Q. And let me -- I know you said you thought

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 1    forwarding relationship, a -- I may get this one --    1       THE WITNESS: I have not.
 2    a private fee arrangement. Was that the phrase?        2       THE SPECIAL MASTER: So just a fee
 3       MR. SINNOTT: Something like that, yeah.             3    arrangement or just an arrangement?
 4       MS. LUKEY: Objection on that one. I                 4       THE WITNESS: I've always referred to it
 5    don't remember that one. It may have happened.         5    as our agreement.
 6       THE SPECIAL MASTER: It was there. I                 6       THE SPECIAL MASTER: Agreement. Okay.
 7    might have the phrase wrong, but it was sort of a      7       BY MR. SINNOTT:
 8    private arrangement. Am I missing anything?            8   Q. Have you ever referred to it as an
 9       MR. SINNOTT: No. I think you got 'em.               9    obligation?
10       THE SPECIAL MASTER: What is your                   10   A. An obligation? I don't think so.
11    understanding of the relationship?                    11   Q. Do you ever recall hearing Labaton or other
12       And if it evolved from something to                12    counsel refer to your agreement as an obligation?
13    something else --                                     13   A. Maybe. I don't recall.
14       THE WITNESS: Right.                                14   Q. Okay.
15       THE SPECIAL MASTER: -- we'd be very                15       THE SPECIAL MASTER: Have they ever
16    interested in that.                                   16    referred to you in your conversations with them as
17       THE WITNESS: At the very beginning I               17    referring counsel or referring attorney or referral
18    thought I would be local counsel. I was not.          18    fee? Anything --
19       THE SPECIAL MASTER: As we understand it            19       THE WITNESS: No, sir.
20    in our --                                             20       THE SPECIAL MASTER: Okay. You've heard
21       THE WITNESS: As we understand it                   21    the phrase though a referral fee or a referring --
22    talking today.                                        22    referring counsel?
23       THE SPECIAL MASTER: -- in our                      23       THE WITNESS: I am familiar with that
24    discussion, yeah.                                     24    phrase.

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 1      BY MR. SINNOTT:                                      1       THE SPECIAL MASTER: Yep. To your
 2   Q. And as you were in the HCC Holdings case?            2    understanding of that phrase, have you acted as
 3   A. Yes, and as I was in the HCC Holdings case.          3    referring counsel in any of these cases?
 4   When Eric informed me that it had been kicked back,     4       THE WITNESS: The capacitor case.
 5    I needed to withdraw, ever since then I've only        5       THE SPECIAL MASTER: The capacitor case.
 6    referred to this as an agreement.                      6       THE WITNESS: Yes, sir. That did not
 7       I don't have a client so...                         7    involve Arkansas Teachers.
 8   Q. Okay.                                                8       THE SPECIAL MASTER: Right. Any other
 9       THE SPECIAL MASTER: Just an agreement?              9    cases?
10       THE WITNESS: Just an agreement.                    10       THE WITNESS: I don't know if they came
11       THE SPECIAL MASTER: Not a referral fee             11    to fruition for them, but through the years they
12    arrangement?                                          12    would periodically ask me if I had any connections
13       THE WITNESS: No, sir.                              13    or inroads into some of their antitrust
14       THE SPECIAL MASTER: Not a local counsel            14    investigations.
15    arrangement?                                          15       So if they're looking for someone in a
16       THE WITNESS: No, sir.                              16    particular industry, they would ask me. And
17       THE SPECIAL MASTER: Not a forwarding               17    sometimes I would have success. Sometimes I
18    fee arrangement?                                      18    wouldn't.
19       THE WITNESS: I'm not sure what                     19       THE SPECIAL MASTER: And -- but in terms
20    forwarding fee means.                                 20    of being referring counsel and receiving a referral
21       MR. SINNOTT: Neither are we.                       21    fee, to your knowledge has that happened in any case
22       THE SPECIAL MASTER: We weren't either.             22    other than the capacitor case?
23    I was going to follow up on that and ask you if       23       THE WITNESS: I didn't receive a fee in
24    you've ever heard the term.                           24    that case. I don't know that it's resolved even.

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 1       THE SPECIAL MASTER: Okay.                            1        THE WITNESS: Yes, sir.
 2       THE WITNESS: But other than that, no.                2        THE SPECIAL MASTER: Was the payment you
 3       BY MR. SINNOTT:                                      3    would receive the product of a negotiation in each
 4   Q. How about the Colonial case?                          4    case?
 5   A. Colonial Bank, yes.                                   5        THE WITNESS: Yes, sir.
 6   Q. Okay.                                                 6        THE SPECIAL MASTER: Okay.
 7   A. I received -- I'm guessing. Not to the                7        BY MR. SINNOTT:
 8    penny. But I believe the -- it was in two parts.        8   Q. And the Colonial case was an Arkansas
 9    And I believe the attorneys' fees total for Labaton     9    Teachers case, correct?
10    were around 4 million dollars.                         10   A. Yes, sir.
11       And my firm received 90,000 plus                    11   Q. But you said the capacitors was not?
12    $75,000.                                               12   A. Yes, sir.
13       THE SPECIAL MASTER: That's a far cry                13   Q. So Labaton used you as an entree or a
14    from 20 percent?                                       14    facilitator of introductions beyond Arkansas
15       THE WITNESS: Yes, it is.                            15    Teachers as testified earlier?
16       THE SPECIAL MASTER: Did you view that               16   A. Yes, sir.
17    as a referral fee as you understand the term?          17   Q. And capacitors was one of those?
18       THE WITNESS: No, sir.                               18   A. Yes, sir.
19       THE SPECIAL MASTER: I'm curious.                    19   Q. How about Beckman Coulter securities
20       THE WITNESS: Yes.                                   20    litigation --
21       THE SPECIAL MASTER: Your understanding              21   A. Not familiar with that one.
22    of the agreement was 20 percent.                       22   Q. -- 2010 Central District of California?
23       THE WITNESS: Yes, sir.                              23   A. Not familiar with that one.
24       THE SPECIAL MASTER: Why didn't you get              24        THE SPECIAL MASTER: Did you -- you

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 1    20 percent?                                             1    don't remember receiving a payment from that case?
 2       THE WITNESS: Great question.                         2       THE WITNESS: Beckman Coulter? I did
 3       Eric Belfi called me and explained that              3    not --
 4    there were many variables and circumstances that        4       THE SPECIAL MASTER: Maybe it went by
 5    they -- that they had not considered that affected      5    some other name. In re securities litigation --
 6    the case and the risk that they took in the case and    6       BY MR. SINNOTT:
 7    would I accept less. And I did.                         7   Q. In re Beckman Coulter securities litigation.
 8       THE SPECIAL MASTER: So it became a                   8   A. No, sir.
 9    negotiation?                                            9   Q. Okay. Hewlett-Packard?
10       THE WITNESS: Each time.                             10   A. Yes, sir.
11       THE SPECIAL MASTER: Each case.                      11   Q. All right. Tell us about that.
12       THE WITNESS: Yes, sir.                              12   A. Labaton received a fee of 14-and-a-half
13       THE SPECIAL MASTER: Or each payment --              13    million dollars, give or take. And our negotiated
14       THE WITNESS: Yes, sir.                              14    amount was $201,000. I remember the one.
15       THE SPECIAL MASTER: -- in the Colonial              15       THE SPECIAL MASTER: How did that case
16    Bank case?                                             16    come -- what was your role in facilitating that
17       THE WITNESS: Yes, sir. Sorry.                       17    case?
18       THE SPECIAL MASTER: I keep asking                   18       THE WITNESS: That was an Arkansas
19    compound questions.                                    19    Teachers case.
20       THE WITNESS: In each case --                        20       THE SPECIAL MASTER: Oh, that was an
21       MS. LUKEY: Each case -- I've lost the               21    Arkansas case?
22    thread.                                                22       THE WITNESS: Yes, sir.
23       THE SPECIAL MASTER: Let me start again,             23       THE SPECIAL MASTER: So that goes back
24    Damon.                                                 24    to the initial relationship with Arkansas that you

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 1   A. I believe the end of 2012 or maybe beginning
 2    of 2013. Somewhere around there.
 3   Q. Okay. And how did you learn about it?
 4   A. I believe Eric Belfi told me that he and
 5    Garrett -- I believe that's when he and Garrett had
 6    filed it or were filing it or something like that.
 7   Q. Okay. And was it just Eric, or was it Eric
 8    and Chris Keller, or Eric and Garrett Bradley?
 9       Who did you speak to about the case?
10   A. I really don't know. I believe it was just
11    Eric letting me know what's going on.
12   Q. Okay. And did you receive periodic updates
13    on what was happening in the case?
14   A. About once every year or two Eric would say
15    here's what's going on.
16   Q. And what was your understanding of what was
17    going on with that case?
18   A. They were working it.
19   Q. Okay.
20   A. It was progressing along.
21   Q. But there's no expectation that you were
22    going to be strategizing, playing a role, local
23    counsel or anything else, correct?
24   A. No, sir -- I mean correct. Correct.

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 1   Q. All right. To your knowledge on anyone's
 2    part, correct?
 3   A. Correct.
 4   Q. And when you learned about the State Street
 5    case from Eric, did you and Eric discuss what your
 6    payment would be on any settlement or award in that
 7    case?
 8   A. No, sir.
 9   Q. Subsequently did you have discussions about
10    what your payment would be?
11   A. Yes.
12   Q. All right. Tell us about those discussions.
13   A. Sometime around 2013 Garrett called me and
14    said I wanted to talk to you about your deal with
15    Labaton and changing it.
16       THE SPECIAL MASTER: Why Garrett?
17       THE WITNESS: He said that the case was
18    his firm's idea or something like that, and he was
19    working the case.
20       THE SPECIAL MASTER: By this time had
21    you developed an independent relationship with
22    Garrett Bradley?
23       THE WITNESS: I don't know if I would
24    characterize it as independent, but I had come to

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                                                     1    6th writes -- and this goes onto page 4 -- "I spoke
                                                     2    with David. Do you think we will have time to
                                                     3    process his allocation once he wants it, or will it
                                                     4    be a rush? If it will be a rush, then I want to
                                                     5    tell accounting to bring the money into our IOLA.
                                                     6    Otherwise, it can stay in the settlement fund, but
                                                     7    it will take some hoops to get it out." Keller and
                                                     8    Larry's signature.
                                                     9       You weren't part of those discussions
                                                    10    about IOLA or non-IOLA?
                                                    11   A. No, sir.
                                                    12   Q. Okay.
                                                    13       THE SPECIAL MASTER: Didn't matter to
                                                    14    you which account it came from?
                                                    15       THE WITNESS: It did not.
                                                    16   Q. And looking at the top middle of the third
                                                    17    page on a message that began at the bottom half of
                                                    18    the second page from Eric Belfi, do you see going
                                                    19    onto the third page where it says, "He needs a new
                                                    20    undertaking for Damon Chargois, esquire"?
                                                    21       And in the middle of page 2 Nicole
                                                    22    responds: "David, Damon needs a new undertaking.
                                                    23    If you send me a link, I can do it. Eric, does this
                                                    24    mean he wants the money now or still wait? If wait,

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                                                     1    I need to know when he might want it in broad
                                                     2    strokes and his turnaround expectations. Thanks."
                                                     3       Are you surprised to hear they were
                                                     4    rushing this payment?
                                                     5   A. Yes.
                                                     6   Q. It wasn't at your urging or prompting or
                                                     7    anything?
                                                     8   A. No.
                                                     9   Q. Okay.
                                                    10   A. None of this mattered.
                                                    11   Q. And then at the bottom of page 1 Eric
                                                    12    writes: "He will want it now. Let me call you at
                                                    13    11 when I land so we can discuss."
                                                    14       I suppose it's not the worst thing in
                                                    15    the world for people wanting to get you your money
                                                    16    as fast as possible, is it?
                                                    17   A. I suppose.
                                                    18   Q. And then they indicate the issue -- Nicole
                                                    19    Zeiss writes: "Name of person/entity giving
                                                    20    undertaking must match payee name and wire
                                                    21    instructions."
                                                    22       Eric responds: "When the undertaking is
                                                    23    done, please send to me, and I will have Damon sign
                                                    24    it."

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 1    Bates number.                                        1      number. It's at 2:49 p.m. on second 2nd. It's your
 2      MR. MARX: The date is more helpful.                2      e-mail to Chris Keller, a one-page document.
 3      THE WITNESS: They aren't in                        3         MR. MARX: Okay.
 4    chronological order.                                 4         THE SPECIAL MASTER: This is on Spectrum
 5      MR. SINNOTT: They were at one time.                5      and Vocera, Damon.
 6    They may be in reverse chronological order right     6         MS. LUKEY: Correct.
 7    now.                                                 7         THE WITNESS: Okay.
 8      THE WITNESS: Do you have it?                       8         BY MS. LUKEY:
 9      MR. MARX: Yes.                                     9     Q. Do you have that in front of you?
10      MS. LUKEY: The second that will be                10     A. I do.
11    going with it is September 23, 2016. The first      11     Q. In this document in the last paragraph in
12    bears the Bates number LBS 017593. The second bears 12      the penultimate sentence you write: "As you know,
13    the Bates number LBS 040084.                        13      we dedicated a ton of money, energy, political
14       Please let me know when you have those           14      favors time and effort to secure ATRS for..." -- I
15    in front of you.                                    15      just lost my place -- "...for Labaton at the start
16       MR. MARX: Give me the number on the              16      of this thing based on the promise of 20 percent of
17    first document again please, Joan.                  17      Labaton's attorneys' fees."
18       MS. LUKEY: The first document front              18     A. Yes.
19    page is LBS 017593.                                 19     Q. These documents are approximately two years
20       MR. MARX: Okay. We have it.                      20      apart both referring to "a ton of money, energy,
21       BY MS. LUKEY:                                    21      political favors, time and effort" to secure
22   Q. Got 'em? Sir, if you would look at the            22      Arkansas.
23    second page of that document, the October 18, 2014 23      A. Yes.
24    document at the page that is numbered LBS 017594 -- 24     Q. Would you tell us please what ton of money

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 1   A. Yes.                                                 1    you expended that you were representing at two year
 2   Q. -- in it you will see on the second page             2    intervals to Labaton?
 3    that you wrote to Mr. Belfi, and your second           3   A. Each time that we went out to meet with or I
 4    paragraph reads as follows: "I am very concerned       4    went up to meet with Eric, that was out of my
 5    that you guys are attempting to significantly          5    pocket. Our firm was losing money on the
 6    substantially and materially alter our agreement.      6    litigation. Money was extremely tight. I believe
 7    Our deal with Labaton is straightforward. We got       7    they were aware of that. But they had a goal.
 8    you ATRS as a client after considerable favors,        8       They wanted to meet people in Arkansas
 9    political activity, money spent and time dedicated     9    and establish their own presence and foothold there,
10    in Arkansas."                                         10    and so I did it anyway.
11       And then goes on to talk about                     11   Q. How many times did you go to visit Eric?
12    circumstances of Labaton being lead counsel.          12   A. In Arkansas? Maybe three or four times.
13   A. Yes.                                                13   Q. All right. So you went from Houston to
14   Q. Do you see that?                                    14    Little Rock? Is that what you're saying?
15   A. Yes, ma'am.                                         15   A. Yes, ma'am.
16   Q. In the second of the documents -- I may have        16   Q. Did you drive or fly?
17    given you the wrong one. Oops, sorry. I gave you      17   A. I flew.
18    the wrong one. It would be September 2, 2016. LBS     18   Q. And three or four times; is that right?
19    031137.                                               19   A. That's about right.
20       MR. MARX: September 2, 2016?                       20   Q. Would you tell us what you meant by
21       MS. LUKEY: Sixteen. Yes.                           21    expending energy?
22       THE SPECIAL MASTER: There's several of             22   A. Driving around Little Rock, Oklahoma, and
23    them with that.                                       23    when he came to Houston, doing the same.
24       MS. LUKEY: 1137 is the end of the Bates            24   Q. And what did you mean by political favors?

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 1   A. Introducing him to prominent people that we
 2    knew.
 3   Q. What did you mean by time and effort to
 4    secure Arkansas for Labaton?
 5   A. Followup, trying to educate myself on what
 6    this litigation was, asking him for pointers. I
 7    think periodically he'd sort of reroute me and point
 8    me at different funds, things along those lines.
 9   Q. Now you were paid a fee or agreed to a fee
10    which you would be paid, and in several instances
11    were paid for whatever the services were that you
12    rendered to Labaton in connection with Arkansas,
13    correct?
14   A. Correct.
15       MR. MARX: Objection.
16   A. I think.
17   Q. And I believe that you told us that you
18    didn't consider it a referral fee; is that correct?
19   A. I did not say I didn't consider it. I said
20    I take issue with the word "referral" because I,
21    frankly, did not understand what this was.
22   Q. What did you consider this fee to be, sir?
23   A. An agreement.
24   Q. An agreement to be paid for what?

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 1                                                   1




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 1                                                   1    a sunset provision. But I agreed in theory to have
                                                     2    a sunset provision.
                                                     3   Q. What services, if any, have you provided
                                                     4    since the initial introduction with regard to
                                                     5    Arkansas?
                                                     6       Not in the case in which you are in fact
                                                     7    their counsel in the BP matter but otherwise.
                                                     8   A. Just the BP matter as far as I can recall.
                                                     9   Q. Putting that case aside.
                                                    10       With regard to all other cases, what
                                                    11    services is it that you contend that you have
                                                    12    rendered since the introduction between Labaton and
                                                    13    Arkansas?
                                                    14       MR. MARX: Objection.
                                                    15   A. Nothing else I can think of.
                                                    16   Q. Nothing further.
                                                    17       MS. LUKEY: Thank you.
                                                    18       MR. SINNOTT: Richard.
                                                    19       MR. HEIMANN: Yes.
                                                    20       CROSS-EXAMINATION
                                                    21       BY MR. HEIMANN:
                                                    22
                                                    23   Q. The payment that related to the State Street
                                                    24    matter was made to whom? From Labaton to whom?


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 1 A. To me.                                                  1
 2 Q. To you personally?
 3 A. Yes, sir.
 4 Q. Did you in turn share any portion of that
 5 payment with any other persons?
 6 A. I did.
 7 Q. Who?
 8 A. Kamran Mashayekh, Elaine Doyal, the IRS,
 9 lots of debt service.
10 Q. Let's stick with the individuals.
11    Describe each of the individuals for me.
12 Who are they? Who were they?
13 A. Kamran Mashayekh, my law partner. Over the
14 years he's loaned money to the firm. And Elaine
15 Doyal, my legal assistant.
16    Those were throughout this time
17 period --
18 Q. How much of the little over four million
19 dollars did you pay to the first of those two
20 people?
21 A. Kamran Mashayekh, a quarter million dollars.
22 Q. To the second, your legal assistant?
23 A. Elaine Doyal, $50,000.
24 Q. And what about to your former partner?


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 1   A. Nothing.                                              1
 2   Q. Nothing to him?
 3   A. No, sir.
 4   Q. And he's the one, from the documents we were
 5    looking at, who apparently had a significant amount
 6    of contact to the senator that was involved -- the
 7    state senator that was involved in the efforts to
 8    obtain a position for Labaton with the Arkansas
 9    fund, correct?
10   A. Yes. He was friends with the senator.                10
11   Q. And did he ever receive any portion of the           11
12    payments that were made by Labaton over time           12
13    relating to that agreement?                            13
14   A. Maybe in the very beginning.                         14
15   Q. But not otherwise?                                   15
16   A. No, sir.                                             16
17   Q. All right. Thank you.                                17
18       MR. SINNOTT: Okay. On the -- did you                18
19    have something, Joan?                                  19
20       MS. LUKEY: Just one question.                       20
21    Does he know about these payments including the four   21
22    plus million?                                          22
23      MR. MARX: Objection.                                 23
24      THE WITNESS: To my knowledge, he does                24


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